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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. CR S 2:11-0458 GEB

12                                Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                         TO CONTINUE STATUS CONFERENCE
13                          v.

14   BUENA MARSHALL,

15
                                  Defendant.
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18          The parties request that the status conference currently set for May 23, 2014, at 9:00 a.m. be
19 continued to June 6, 2014, and stipulate that the time beginning May 23, 2014, and extending through

20 June 6, 2014, should be excluded from the calculation of time under the Speedy Trial Act. The parties

21 submit that the ends of justice are served by the Court excluding such time so that counsel for the

22 defendant may have reasonable time necessary for effective preparation, taking into account the exercise

23 of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4). Defense Counsel needs additional

24 time to investigate the facts of the case and review discovery.

25          The parties stipulate and agree that the interest of justice served by granting this continuance
26 outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
27 § 3161(h)(7)(B)(iv).

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      Stipulation and Order                               1
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              Case 2:11-cr-00458-GEB Document 114 Filed 05/27/14 Page 2 of 2


 1 Dated: May 22, 2014                                       BENJAMIN B. WAGNER
                                                             United States Attorney
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 3

 4 Dated: May 22, 2014                                       /s/ Michael M. Beckwith
                                                             MICHAEL M. BECKWITH
 5                                                           Assistant United States Attorney
 6                                                           /s/ Jennifer Joy Wirsching
     Dated: May 22, 2014
 7                                                           JENNIFER JOY WIRSCHING
                                                             Attorney for defendant Buena Marshall
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 9
10                                                ORDER

11

12          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the status

13 conference presently set for May 23, 2014, be continued to June 6, 2014. Based on the representation of

14 counsel and good cause appearing therefrom, the Court hereby finds the ends of justice to be served by

15 granting a continuance outweigh the best interests of the public and the defendant in a speedy trial. It is

16 ordered that time from the date of this Order, to and including June 6, 2014, shall be excluded from the

17 computation of time within which the trial of this matter must be commenced under the Speedy Trial

18 Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

19          Dated: May 23, 2014

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      Stipulation and Order                              2
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